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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Criminal Action No. 1:17-cr-00168-CMA

  UNITED STATES OF AMERICA,

       Plaintiff,

  v.

  KAREN LYNN MCCLAFLIN,

       Defendant.


            ORDER DENYING MOTION FOR COMPASSIONATE RELEASE


       This matter is before the Court on Defendant Karen McClaflin’s Motion for

 Compassionate Release. (Doc. # 117.) The Probation Office and the Government filed

 Responses (Doc. ## 121, 122) to the Motion on June 15, 2020, and Ms. McClaflin filed

 a Reply (Doc. # 128) on July 3, 2020. For the following reasons, the Court denies the

 Motion.

                                  I.     BACKGROUND

       On June 21, 2017, Ms. McClaflin pled guilty to two counts stemming from her

 operation of a residential Ponzi scheme which defrauded investors of more than $14.5

 million. At sentencing, this Court calculated the advisory sentencing guidelines at 135 to

 168 months’ imprisonment, applied a 6-level enhancement for substantial financial

 hardship to more than twenty-five victims, and ultimately determined that a downward

 variant sentence of 96 months was appropriate.
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        Notably, Ms. McClaflin has served only 13 months—or 14%—of her sentence.

 See (Doc. # 111) (Ms. McClaflin was required to report to FMC Carswell on June 11,

 2019). Her current projected release date is April 3, 2026. (Doc. # 121 at 1.) In the

 instant Motion, Ms. McClaflin asserts that her underlying medical conditions and her risk

 of contracting the COVID-19 virus warrant her release from prison pursuant to 18

 U.S.C. § 3582(c)(1)(A).

                                II.     LEGAL STANDARD

        18 U.S.C. § 3582(c)(1)(A) allows a court to reduce a defendant’s sentence where

 “extraordinary and compelling reasons warrant such a reduction” and “such a reduction

 is consistent with applicable policy statements issued by the Sentencing Commission.”

 18 U.S.C. § 3582(c)(1)(A)(i). In doing so, the Court must also consider “the factors set

 forth in [18 U.S.C. §] 3553(a) to the extent that they are applicable.” Id. § 3582(c)(1)(A).

 “Application of the § 3553(a) factors requires an assessment of whether the relevant

 factors ‘outweigh the “extraordinary and compelling reasons” warranting compassionate

 release . . . [and] whether compassionate release would undermine the goals of the

 original sentence.’” United States v. Batista, No. 19 Cr. 2 (JFK), 2020 WL 3249233, at

 *2 (S.D.N.Y. June 16, 2020) (quoting United States v. Daugerdas, No. 09 Cr. 581

 (WHP), 2020 WL 2097653, at *4 (S.D.N.Y. May 1, 2020)).

        The relevant policy statement issued by the U.S. Sentencing Commission

 pertaining to compassionate release is found in § 1B1.13 of the Sentencing Guidelines.

 Application Note 1 to § 1B1.13 describes four potentially extraordinary and compelling

 reasons for compassionate release: (1) the defendant has a terminal medical condition


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 or a serious health condition that substantially diminishes his ability to provide self-care;

 (2) the defendant is at least 65 years old and has served 75% of his sentence; (3) family

 circumstances; and (4) an extraordinary and compelling reason other than or in

 combination with one of the above. U.S. Sentencing Guidelines Manual § 1B1.13(1)(A)

 & cmt. n.1(A)–(D) (U.S. Sentencing Comm’n 2018). The defendant, however, must not

 be “a danger to the safety of any other person or to the community,” id. § 1B1.13(2),

 and “[r]ehabilitation of the defendant alone shall not be considered an extraordinary and

 compelling reason,” 28 U.S.C. § 994(t); see also U.S.S.G. § 1B1.13 cmt. n.3.

                                      III.   ANALYSIS

        Assuming, arguendo, that Ms. McClaflin’s health issues and the COVID-19

 pandemic constituted “extraordinary and compelling reasons” to reduce her sentence,

 application of the § 3553(a) sentencing factors outweighs any such reduction.

 Specifically, allowing Ms. McClaflin’s to serve merely 14% of a sentence that already

 constitutes a substantial downward variance from the applicable guideline range would

 not “reflect the seriousness of the offense, . . . promote respect for the law, [or] provide

 just punishment for the offense . . . .” 18 U.S.C. § 3553(a)(2)(A).

        In reaching this conclusion, the Court is persuaded by the analysis of the

 Southern District of New York in its decision in United States v. Israel, No. 05 CR 1039

 (CM), 2019 WL 6702522 (S.D.N.Y. Dec. 9, 2019). In that case, the court denied a white-

 collar defendant’s motion for compassionate release, “notwithstanding his compromised

 medical condition or the undoubted fact that he could receive better medical care in the

 private sector.” Id. at *9.


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       Like Ms. McClaflin, the defendant in Israel operated a Ponzi scheme that

 defrauded millions of dollars from innocent investors. He was sentenced to 20 years

 imprisonment and served 11 years—or 55%—of his sentence when he requested

 compassionate release based on his deteriorating health. Id. at *1. The court reasoned

 that, even though the defendant presented a low risk of recidivism,

       cutting [his] sentence in half—which is what he requests—would
       undermine the goals of sentencing set forth at . . . § 3553(a). In particular,
       reducing [his] sentence would not reflect the seriousness of his crimes,
       provide just punishment, or promote respect for the law.”
                                       ***
       Adjusting Israel’s sentence downward on “compassionate” grounds, despite
       the seriousness of his crime and the amount of his fraud . . . does nothing
       to promote respect for the law. It simply reinforces the belief that there is
       one law for the white-collar criminal and another law altogether for the
       ghetto dweller or the drug dealer.

 Id. at *9, 10 (emphasis added).

       The Southern District’s reasoning applies with additional force in this case, as the

 accommodation Ms. McClaflin requests would constitute a reduction in her sentence by

 over 85%. Such a reduction would not only fail to promote respect for the law—it would

 make a mockery of it.

                                    IV.   CONCLUSION

    Based on the foregoing, Defendant Karen McClaflin’s Motion for Compassionate

 Relief (Doc. # 117) is DENIED.

       DATED: July 20, 2020                        BY THE COURT:



                                                   _______________________________
                                                   CHRISTINE M. ARGUELLO
                                                   United States District Judge

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